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                                                                                            FILED
                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA                                        Jun 22 2023

                                                                                            Mark B. Busby
                                                                                      CLERK, U.S. DISTRICT COURT
                                                                                   NORTHERN DISTRICT OF CALIFORNIA
                             CRIMINAL COVER SHEET                                          SAN FRANCISCO

Instructions: Effective November 1, 2016, this Criminal Cover Sheet must be completed and submitted,
along with the Defendant Information Form, for each new criminal case.


 CASE NAME:                                                CASE NUMBER: 3:23-cr-00190 VC
 USA V.    William Koo ICHIOKA                                      CR

 Is This Case Under Seal?                       Yes       No ✔

 Total Number of Defendants:                       1 ✔ 2-7            8 or more

 Does this case involve ONLY charges
                                                Yes       No   ✔
 under 8 U.S.C. § 1325 and/or 1326?

 Venue (Per Crim. L.R. 18-1):                    SF ✔ OAK             SJ

 Is this a potential high-cost case?            Yes       No ✔

 Is any defendant charged with
                                                Yes       No ✔
 a death-penalty-eligible crime?

 Is this a RICO Act gang case?                  Yes       No ✔

 Assigned AUSA
                                                          Date Submitted: 6/22/2023
 (Lead Attorney): E. Cheng/B. Kingsley

 Comments:




                                                               RESET FORM              SAVE PDF
Form CAND-CRIM-COVER (Rev. 11/16)
